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Sharon E Fonvielle-Baughman
4900 N Lamar Blvd
Austin, Texas 78751
March 22, 2023


Clint Cox
Investigations Deputy Associate Commissioner
of Family and Protective Services after so many years.
4900 N Lamar Blvd
Austin, Texas 78751


Dear Clint Cox,

With great sadness, I submit this notice of my retirement from the Department of Family and Protective
Services after many years of faithful service.

The current situation at the agency has become untenable, and I cannot in good conscience continue to
work for an agency that demonstrates a lack of respect and concern for their dedicated staff as well as
the children and families we serve. My concerns are on two levels as explained below:

 The Special Investigator position was created by the 79th Legislature to provide forensic investigation
support and training to caseworkers, to serve as subject matter experts and consultants to caseworkers,
and to act as liaisons with law enforcement agencies and courts. The SI Division exists to support
multiple other divisions within the agency, not solely the Child Protective Investigations (CPI/INV)
Division. Some examples include: CPS Conservatorship (runaways, trafficking), Child Care Investigations
(CCI) (all child deaths, trafficking, complex investigations), Adult Protective Services (sex abuse, law
enforcement liaison), Center for Learning and Organizational Excellence (CLOE) (develop and provide
training across all programs), along with their liaison work with law enforcement, multidisciplinary
teams, and other internal and community partners.

Special Investigators receive the same initial training as INV caseworkers, and then once in the field,
receive further training specific to the SI duties. An SI receiving caseworker training is comparable to
learning a foreign language in that, if the language is not spoken regularly it is forgotten. An SI will utilize
child safety assessment skills and advanced investigation skills daily in every task they complete.
However, an SI does not conduct child removals or referrals for services type work with any regularity,
therefore they should not be expected to have the same level of competency in this task as an INV
caseworker. The SI should never be expected to work an equivalent number of investigations as a
traditional INV caseworker, otherwise the work they do for other divisions is compromised.
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SIs are very familiar with investigations as they each had a strong law enforcement investigations
background prior to joining the SI Division, which honed their skills specific to the most serious cases of
child abuse and neglect. The SI’s function was designed to assist in the most serious cases ensuring
safety for any victim of abuse and neglect and bridge the gap where INV caseworkers may have a lack of
experience in investigative techniques or communicating with law enforcement partners. Throughout
the years, the SIs have taken on additional primary tasks such as school investigations, only child death
cases, Child Without Placement (CWOP) investigations, employee investigations, law enforcement
investigations, and others in addition to the tasks already designed through law, policy, and protocol.
Despite the extra work, the SI Division has never been given the resources, administrative support,
career ladder opportunities, pay, or even acknowledgement of the extra duties they have taken on.
Runaway or missing conservatorship children, Child Safety Check Alert List (CSCAL: cases in which
missing families cannot be located and law enforcement is alerted for assistance with locating), and
serious injury, sexual abuse, or death cases were the priority above all else. The SIs took on these extra
duties without complaint, and excelled in the work in order to protect children where they otherwise
may have fallen through the cracks. Special Investigators have been called upon on countless occasions
to “rescue, save, bail-out” other programs who found themselves in crisis situations, specifically INV and
Child Care Investigations. The SI Division exists as a support program to provide assistance in such
situations. These crisis situations have historically been a result of staff turnover, which leads to high
caseloads, which leads to further turnover. The SIs have worked regionally and have deployed away
from their own families for weeks and even months at a time to ensure the safety of children that had
been left at risk, sometimes for months, due to internal DFPS issues beyond the control of the child or
family.

Around April 2022, the current crisis situation was first called to the attention of the current CPI Acting
Associate Commissioner, Marta Talbert, who was then in the role of CPI Director of Field. The data team
called to her attention an increasing number of delinquent cases (2000-3000 cases) which was
attributed to an increasing amount of staff turnover. Obviously, each issue exacerbates the other. The SI
Division was aware of the “impending implosion” and field staff, SI Regional Directors, and SI Program
Directors, were advised to reach out to their regional counterparts within CPI to offer assistance. As
each region had different needs, the plan was to target SI resources to meet the local needs. Some
regions were more receptive to utilizing the offered assistance than others as many did not want
internal issues within their regions to be revealed. In spite of these efforts, the staff levels continued to
fall as the caseloads continued to rise.

It took a change in top CPI leadership, Jim Sylvester as CPI Associate Commissioner, and you, Clint Cox,
as Deputy Associate Commissioner, for a plan to be implemented to try and address the CPI crisis which
was by then at over 6000 delinquent cases. You developed the plan which essentially turned SI staff into
caseworkers and requires SIs to take on five delinquent cases at a time as primary caseworkers while
also continuing to be responsible for their standard SI assignments, all of which are serious and time
sensitive. Somehow, 230 Special Investigators have been directed to assist with resolving a situation
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which 2,900 (approximate current number of fulltime INV caseworker positions) INV caseworkers
created and perpetuated for almost a year with no meaningful intervention or direction from their
Regional or State Office leadership team.

The expectation was/is for the SIs to close as many cases as possible as quickly as possible. Any and all
necessary overtime would be approved, and any personnel issues (ie: lack of timely case initiation, lack
of timely fact-to-face contact with alleged victims, lack of documentation, inaccurate or false
documentation) discovered during the project were to be ignored in the interest of case closures and
staff retention. This plan was implemented in November 2022. SI staff have worked diligently and under
extreme pressure to close cases as they are scrutinized for not closing INV’s delinquency fast enough.
They have worked countless hours of overtime, referred cases to Family Based Safety Services (FBSS),
and completed child removals in an effort to ensure children are safe in situations where they have
potentially been at risk for months with no INV caseworker intervening on their behalf. The most
common complaint from the SIs is not about doing the work, it is about accountability. SIs find difficulty
working in an office where the INV units are having parties while the SI is diligently working to make
sure children are safe on the cases that were set aside by these same INV caseworkers. It is common
knowledge in some offices that it is now considered “okay” for INV caseworkers to allow their cases to
become delinquent because the case will then be assigned to an SI to complete. Every SI wonders where
is the accountability for the caseworkers and where is the accountability for the Regional and State
Office leadership that did not take decisive action sooner?

During my 2.5 year tenure as Director, with 277 SI positions, the vacancy rate in the SI Division has
varied between 15-20 positions. There are currently 33 vacant SI positions, and this number is growing
daily as at least two resignations have been submitted in the past week. Not all of the departures are a
result of the current INV Project, but many will reflect the SI left for another job opportunity. The truth
of the matter remains that staff are searching and leaving for other jobs as a direct result of this project
and the mistreatment of the SIs. The SIs were not recruited and hired to be INV caseworkers. Forcing
them to be INV caseworkers, from their perspective, is demeaning and devalues the special skills they
bring to their positions. As the SI role continues to evolve to be more like the INV caseworker role, more
SIs will continue to leave.

Human Resources (HR) has worked diligently to fill vacant positions, but retention continues to be an
issue. Many of the retention issues may be attributed to local, and longstanding, leadership issues which
have been allowed to perpetuate for years. There is a lot of truth to the adage that, “Employees don’t
leave bad jobs, they leave bad leaders.” This agency has not learned this lesson and continues to make
jobs which are already challenging more difficult without any acknowledgement towards staff success
and accomplishments or reprimand for those who lack the accountability to complete their actual duties
as assigned. Accountability is a word that is thrown around a lot at DFPS, but it is selectively utilized in
very limited settings and circumstances. When individual leaders repeatedly experience high levels of
staff turnover, that is a leadership problem, not a staffing problem.
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Now that the SI staff have demonstrated their ability as INV caseworkers, and because there are not
specific data points available to track the variety of tasks performed by the Special Investigators (a direct
result of antiquated computer systems), there are certain leaders within the CPI Division who are under
the impression that the Special Investigators “don’t have enough to do.” In my absence, there has been
a clear vacuum of leadership for the SI Division. The SI Division is not able to perform the tasks outlined
for them to do. Unfortunately, the most vulnerable children and adults have been left at risk. There is
almost no time to search for runaway foster children, nor time to interview people that have seriously
harmed or killed their child, because only the numbers matter. Closing cases is all that matters, not
ensuring safety. The SIs have no one that will advocate for them, and they cannot advocate for
themselves for fear of losing their jobs. I realize the end goal is to have the SI Division dissolved and
returned to report directly to the INV Regional and State Office leadership. As a separate division, the SIs
exist to create a check and balance system, but apparently this oversight was never appreciated and is
no longer deemed necessary. I implore you and anyone that may read this to please ensure that the
staff within the SI Division are allowed to return to their legislatively mandated role. The position and
Division are intended to support, assist, and consult with caseworkers, not to be a caseworker. This has
proven to be a strong Division that rises to take on any adversity presented and meets or exceeds all
expectations to ensure safety that otherwise may have gone unnoticed in the most terrifying of
circumstances.

All of this brings me to my next issue beyond the direct control of DFPS itself. As a member of the LGBT
community, I cannot support the vile legislation that is being proposed and supported by state leaders
targeting the LGBT community, their children, and families. To be silent on the matter is to appear in
agreement with any directives our department may be forced to implement against these families’ lives.
I cannot stand idly by and watch the efforts of a few, harm so many. The same legislature that
reportedly stands for and implements bills for parent’s rights, are the same ones that introduce bills that
will do nothing but tear families apart and cause more harm. This department will continue to be
complicit by law or practice in inflicting the damage upon those we have sworn to protect, and I will not
be a part of that.

My last day at of Family and Protective Services after so many years. will be March 22, 2023.


Sincerely,



Sharon E Fonvielle-Baughman

Sharon E Fonvielle-Baughman
Director Special Investigations (Retired)
Department of Family and Protective Services
